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December 11, 2018

By ECF

Hon. Katharine H. Parker
United States Magistrate Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:    Almaty v. Ablyazov, 15 Civ 5345 (AJN) (KHP)

Dear Judge Parker:

This firm represents Ilyas Khrapunov and Viktor Khrapunov. With the permission of the Court,
we are replying to Plaintiffs’ letter of December 5, 2018 (Doc. 904), in which they try to deflect
their failure to depose Leila Khrapunova within the Court-ordered deadline.

Plaintiffs take relevance for granted. They identify Ms. Khrapunova as a witness for two issues:
(1) the payment of my clients’ living expenses, and (2) land transfers that took place in
Kazakhstan. But they do not explain how either issue is relevant to the case, as it now stands. In
any event, the Court should reject Plaintiffs’ attempt to transform their own dilatory conduct into
a pretext for seeking discovery sanctions against defendants in the form of an order precluding
Leila Khrapunova from testifying.

Respectfully yours,

/s/Andrew T. Solomon

Andrew T. Solomon

cc: All counsel by ECF
